Case 2:21-cv-19463-EP-JRA Document 138 Filed 07/07/23 Page 1 of 2 PageID: 16816

 NOT FOR PUBLICATION


                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


  METACEL PHARMACEUTICALS LLC,

            Plaintiff,
                                                        No. 21cv19463 (EP) (JRA)
            v.
                                                        ORDER
  RUBICON RESEARCH PRIVATE
  LIMITED,

            Defendant.


           Defendant having moved for summary judgment (D.E. 88), for leave to file a counterclaim

 (D.E. 130), and to expedite the summary judgment ruling (D.E. 131), and Plaintiff having opposed

 all three motions, and Defendant having replied, and the Court having considered the parties’

 papers and all other relevant items on the docket, and having determined that oral argument is not

 necessary to resolve this motion, and for good cause shown,

           IT IS, on this 6th day of July, 2023, for the reasons in the accompanying sealed Opinion,

           ORDERED that Defendant’s motion for summary judgment (D.E. 88) is GRANTED; and

 it is further

           ADJUDGED that Defendant’s Abbreviated New Drug Application (“ANDA”) No.

 214445 DOES NOT INFRINGE upon Plaintiff’s Patent No. 10,610,502; and it is further

           ORDERED that Defendant’s motion to expedite (D.E. 131) is DENIED as moot; and it is

 further

           ORDERED that Defendant’s motion for leave to file a counterclaim (D.E. 130) is

 ADMINISTRATIVELY TERMINATED pending a further conference with the Magistrate

 Judge; and it is further
Case 2:21-cv-19463-EP-JRA Document 138 Filed 07/07/23 Page 2 of 2 PageID: 16817




        ORDERED that the parties shall confer and, within 14 days, email to the undersigned’s

 chambers: (1) a proposed, redacted copy of the accompanying Opinion for filing on the public

 docket; and (2) a proposed Final Judgment.



 July 6, 2023
                                                                Evelyn Padin, U.S.D.J.




                                              2
